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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                Plaintiffs,                               4:14CR3114
    vs.
                                                            ORDER
SONIA HERNANDEZ and
FREDDY HERNANDEZ JR.,
                Defendants.



    IT IS ORDERED:

    1)    Government’s unopposed motion to continue, (filing no. 49), is granted.

    2)    The evidentiary hearing on defendants’ motions to suppress, (filing nos. 40
          and 42), will be held before the undersigned magistrate judge on April 13,
          2015 at 9:00 a.m. in Courtroom #2, United States Courthouse, Lincoln,
          Nebraska. Three hours have been set aside for this hearing.

    February 20, 2015.



                                            BY THE COURT:
                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge
